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                 3            IT IS FURTHER STIPULATED AND AGREED that each party shall bear its own
                 4   attorney fees and costs.
                 5            IT IS SO STIPULATED.
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                 7   Dated: �\J\� \ \ , 2024                       Dated: JuIy 11, 2024
                     THE LAW OFFICES OF DAVID                       MCDONALD CARANO,LLP
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                 9              (--      (                         By: /s/ Karyna M. Armstrong
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                           Attorneys for Brian Dornellas as          Las Vegas, NV 89102
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     �!=        14         Trustee of the Shelly Collins
C 5.,.
  "'"                      Revocable Living Trust and as             Amy E. Sparrow, Esq. (Pro Hac Vice)
                           Guardian for Jennifer Ann Stovall
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                15                                                   Paula D. Shaffner, Esq. (Pro Hac Vice)
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                                                                     Attorneys for Lincoln Financial Advisors
                19                                                   Corporation
                20                                              ORDER
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                                                                     IT IS SO ORDERED. July 16, 2024.
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                                                                     UNITED STATES DISTRICT JUDGE
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